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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                            UNITED STATES DISTRICT COURT                                 August 23, 2022
                             SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


DENNIS SPURLING,                                 §
                                                 §
        Plaintiff,                               §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:22-CV-01794
                                                 §
CINDY EILENE WRIGHT, et al.,                     §
                                                 §
        Defendants.                              §


                                            ORDER

       In direct contravention of the Court’s previous Order discussing the importance of using

the initials of minor children in unsealed filings (ECF No. 49), Defendant referred to a minor child

using that child’s full name in exhibits to her reply. See ECF Nos. 49-2, 49-3. The Court hereby

orders the Clerk of the Court to seal Docket Entry 49-2 and Docket Entry 49-3 in this case.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 23rd day of August, 2022.




                                              ____________________________________
                                              KEITH P. ELLISON
                                              UNITED STATES DISTRICT JUDGE
